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 8                             UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
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11   KEITH CARROLL and REBEKA                       Case No. 3:22-cv-8952-WHA
     RODRIGUEZ, individually and on behalf
12   of all others similarly situated,
13                 Plaintiffs,                      FIRST AMENDED CLASS ACTION
                                                    COMPLAINT FOR VIOLATION OF
14                 v.                               THE VIDEO PROTECTION
15   THE J.M. SMUCKER COMPANY, an                   PRIVACY ACT
     Ohio corporation d/b/a
16   FOLGERSCOFFEE.COM; and DOES 1
     through 25, inclusive,
17                                                  Filed: December 19, 2022
                   Defendants.                      Trial Date: None Set
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 1                                    I.     INTRODUCTION
 2         Whenever someone watches a video on https://www.folgerscoffee.com/ (the
 3   “Website”), Defendants secretly report all the details to Facebook: the visitor’s personally
 4   identifiable information (“PII”), the titles watched, and more. Why? Data harvesting and
 5   targeted advertising.
 6         As shown below, Defendants’ actions violate the Video Privacy Protection Act, 18
 7   U.S.C. § 2710 (“VPPA”). As such, Defendants are liable to each class member for $2,500
 8   and related relief.
 9                              II.   JURISDICTION AND VENUE
10         1.     This Court has subject matter jurisdiction over this action pursuant to 28
11   U.S.C. § 1331 because it arises under the VPPA, a federal law.
12         2.     Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part of
13   the acts and events giving rise to the class claims occurred in this District. Upon
14   information and belief, many Class members reside in this District.
15         3.     Defendants are subject to personal jurisdiction because they have sufficient
16   minimum contacts with California and do business with California residents.
17                                         III.   PARTIES
18         4.     Plaintiff Keith Carroll (“Plaintiff Carroll”) is a consumer advocate who
19   played the video, “How to Make Coffee with a Single Serve Coffee Maker”, in or around
20   December 2022 on the https://www.folgerscoffee.com/coffee/how-to/use-k-cups portion
21   of Defendants’ Website. Plaintiff Carroll resides in Virginia.
22         5.     Plaintiff Rebeka Rodriguez (“Plaintiff Rodriguez”) (collectively with
23   Plaintiff Carroll, “Plaintiffs”) is a consumer advocate who played the video, “Allow Us
24   to    Reintroduce       Ourselves”,   in     or    around     March      2023     on    the
25   https://www.folgerscoffee.com/folgers-the-coffee-company portion of Defendants’
26   Website. Plaintiff Rodriguez resides in California.
27         6.     Defendant The J.M. Smucker Company d/b/a Folgerscoffee.com is an Ohio
28   corporation with its principal place of business is in Orville, Ohio. Defendant owns,

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 1   operates, and/or controls the Website and offers multiple videos for consumers to view
 2   and play through the Website. Defendant’s Folgers coffee brand, for which the Website
 3   is maintained, is widely available throughout the United States, is in thousands of stores
 4   in California and this District, and is an immediately recognizable American brand.
 5         7.     The above-named Defendant, along with their affiliates and agents, are
 6   collectively referred to as “Defendants.” The true names and capacities of the Defendants
 7   sued herein as DOE DEFENDANTS 1 through 25, inclusive, are currently unknown to
 8   Plaintiff, who therefore sues such Defendants by fictitious names. Each of the Defendants
 9   designated herein as a DOE is legally responsible for the unlawful acts alleged herein.
10   Plaintiffs will seek leave of Court to amend the Complaint to reflect the true names and
11   capacities of the DOE Defendants when such identities become known.
12         8.     Plaintiffs are informed and believe that at all relevant times, every Defendant
13   was acting as an agent and/or employee of each of the other Defendants and was acting
14   within the course and scope of said agency and/or employment with the full knowledge
15   and consent of each of the other Defendants, and that each of the acts and/or omissions
16   complained of herein was ratified by each of the other Defendants.
17                              IV.   FACTUAL ALLEGATIONS
18   A.    THE FACEBOOK TRACKING PIXEL
19         9.     Facebook is a social networking company where users are required to
20   identify themselves by “the name they go by in everyday life.”1 To create a Facebook
21   account, a user must provide first name, last name, date of birth and gender.2
22         10.    Facebook generates revenue by selling advertising space on its website
23   based upon its ability to identify user interests.3 Facebook can identify user interests by
24
     1
25    FACEBOOK, COMMUNITY STANDARDS, PART IV INTEGRITY AND
   AUTHENTICITY,
26 https://www.facebook.com/communitystandards/integrity_authenticity (last visited
   December 15, 2022).
   2
27    FACEBOOK, SIGN UP, https://www.facebook.com/ (last visited December 15,
   2022).
   3
28          FACEBOOK,        WHY          ADVERTISE          ON       FACEBOOK,
   https:/www.facebook.com/business/help/20502906038706 (last visited December 15,
   2022).
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 1   monitoring “offsite” user activity, which allows Facebook to judge user interests beyond
 2   what users freely disclose.4
 3         11.    Facebook enables advertisers to identify “people who have already shown
 4   interest in [their] business”, which Facebook calls “Custom Audiences.”5 The Custom
 5   Audiences tool requires advertisers to supply user data to Facebook, and most do so via
 6   the Facebook Tracking Pixel.6
 7         12.    The Facebook Tracking Pixel is a device included programming code that
 8   advertisers can integrate into their website. Once activated, the Facebook Tracking Pixel
 9   “tracks the people and type of actions they take.”7 When the Facebook Tracking Pixel
10   captures an action, it sends a record to Facebook, which Facebook then assimilates into
11   the Custom Audiences dataset.
12         13.    Advertisers control what actions—or, as Facebook calls it, “events”— the
13   Facebook Tracking Pixel will collect, including the website’s metadata, along with what
14   pages a visitor views.8
15         14.    Advertisers control how the Facebook Tracking Pixel identifies visitors. The
16   Facebook Tracking Pixel is configured to automatically collect “HTTP Headers” and
17   “Pixel-specific Data.”9 HTTP Headers collect “IP addresses, information about the web
18
     4
19     FACEBOOK, AD TARGETING: HELP YOUR ADS FIND THE PEOPLE WHO
     WILL LOVE
20   YOUR BUSINESS, https://www.facebook.com/business/ads/ad-targeting (last visited
     December 15, 2022).
     5
21           FACEBOOK,           ABOUT        EVENTS     CUSTOM        AUDIENCE,
     https://www.facebook.com/business/help/366151833804507?id=300360584271273
22   (last visited December 15, 2022).
     6
         FACEBOOK, CREATE A CUSTOMER LIST CUSTOM AUDIENCE,
23   https://www.facebook.com/business/help/170456843145568?id=2469097533764       94
     (last visited December 15, 2022); FACEBOOK, CREATE A WEBSITE CUSTOM
24   AUDIENCE,
     https://www.facebook.com/business/help/1474662202748341?id=2469097953376494
25   (last visited December 15, 2022).
     7
       FACEBOOK,RETARGETING, https://www.facebook.com/business/oals/reta getting.
     8
26      See FACEBOOK, FACEBOOK PIXEL, ACCURATE EVENT TRACKING,
     ADVANCED,https://developers.facebook.com/docs/facebook-pixel/advanced/; see also
27   FACEBOOK, BEST PRACTICES FOR FACEBOOK PIXEL SETUP,
     https://www.facebook.com/business/help/218844828315224?id=1205376682832142
28   (last visited December 15, 2022).
     9
       FACEBOOK, FACEBOOK PIXEL, https://developers.facebook.com/docs/facebook-
     pixel/ (last visited December 15, 2022).
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 1   browser, page location, document, referrer and persons using the website.”10 Pixel-
 2   specific Data includes “the Pixel ID and cookie.”11
 3   B.       FOLGERSCOFFEE.COM AND THE FACEBOOK PIXEL
 4            15.   The VPPA defines PII to “include[]” “information which identifies a person
 5   as having requested or obtained specific video materials or services from a video tape
 6   service provider.” 18 U.S.C. § 2710(a)(3). This means “information that would ‘readily
 7   permit an ordinary person to identify a specific individual's video-watching behavior.’”
 8   Eichenberger v. ESPN, Inc., 876 F.3d 979, 985 (9th Cir. 2017) (quoting In re Nickelodeon
 9   Consumer Privacy Litig., 827 F.3d 262, 290 (3d Cir. 2016)).
10            16.   Here, Defendants disclose information which allows Facebook (and any
11   ordinary person) to identify a user’s video-watching behavior.
12            17.   Part of Defendants’ business involves persuading potential customers to try
13   Folgers products via the use of videos showing consumers enjoying the products and
14   learning how to use the array of their products via “how to” videos on the Website. As
15   such, Defendants are “video tape service providers” under the VPPA because, as part of
16   their business, they deliver “prerecorded video” content or other “similar audio visual
17   materials.” 18 U.S.C. § 2710(a)(4). Federal courts have interpreted the term, “video tape
18   service provider” to include commercial website owners/operators like Defendants. See,
19   e.g., Czarnionka v. The Epoch Times Ass’n, Inc., 2022 WL 17069810, at *4 (S.D.N.Y.
20   Nov. 17, 2022); Lebakken v. WebMD, LLC, 2022 WL 16716151, at *1, *3 & n.2 (N.D.
21   Ga. Nov. 4, 2022); Ambrose v. Boston Globe Media Partners LLC, 2022 WL 4329373,
22   at *2 (D. Mass. Sept. 19, 2022); Louth v. NFL Enterprises LLC, 2022 WL 4130866, at
23   *4 (D.R.I. Sep’t 12, 2022); In re Facebook, Inc., Consumer Privacy User Profile Litig.,
24   402 F. Supp. 3d 767, 798-99 (N.D. Cal. 2019); Cappello v. Walmart Inc., 2019 WL
25   11687705, at *2 (N.D. Cal. Apr. 5, 2019); Yershov v. Gannett Satellite Info Network,
26   Inc., 820 F.2d 482, 485 n.2 (1st Cir. 2016); In re Hulu Privacy Litig., 2012 WL 3282960,
27   at *6 (N.D. Cal. Aug. 10, 2012).
28   10
        Id.
     11
       Id.
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 1            18.   The Website, folgerscoffee.com, hosts and delivers content including
 2   videos.
 3   Figure 1
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              19.   Defendants knowingly permits Folgerscoffee.com to host the Facebook
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     tracking Pixel which transmits numerous distinct events to Facebook.12
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     Figure 2
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          This data is derived from a tool created and offered by Facebook.
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 1         20.     Defendants have configured the PageView event to transmit the URL and
 2   the category of content selected to Facebook.
 3      Figure 3
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18         21.     In the above figure, for example, Defendants disclose a webpage’s

19   Universal Resource Locator (“URL”) to Facebook.

20         22.     Microdata discloses the video’s title and other descriptors.

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 1   Figure 4
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           23.    The aggregate pixel events (Page View and Microdata Automatically

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     Detected,) permit an ordinary person to identify a video’s content, title, and location.

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           24.    When a visitor watches a video on Folgerscoffee.com while logged into

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     Facebook, Defendants knowingly compels a visitor’s browser to transmit the c user

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     cookie to Facebook. The c user cookie contains that visitor’s unencrypted Facebook ID.

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     When accessing the above video, for example, Defendants compelled the browser to send

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     nine cookies:

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 1   Figure 5
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 9            25.   When a visitor’s browser has recently logged out of Facebook, Defendants

10   will compel the browser to send a smaller set of cookies:

11   Figure 6

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18            26.   The fr cookie contains an encrypted Facebook ID and browser identifier.13

19   The datr cookies also identifies a browser.14 Facebook, at a minimum, uses the fr cookie

20   to identify particular users.15

21            27.   The _fbp cookie contains, at least, an unencrypted value that uniquely

22   identifies a browser.16 As with the fr cookie, Facebook uses the _fbp cookie to identify

23   users.

24   13
        DATA PROTECTION COMMISSIONER, FACEBOOK IRELAND LTD, REPORT
25   OF RE-AUDIT (Sept. 21, 2012), http://www.europe-v facebook.org/ODPC_Review.pdf
     (last visited December 15, 2022).
     14
26         FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES,
     https://www.facebook.com/policy/cookies/ (last visited December 15, 2022).
     15
27         FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES,
     https://www.facebook.com/policy/cookies/ (last visited December 15, 2022).
     16
28                        FACEBOOK,                   CONVERSION                     API,
     https://developers.facebook.com/docs/marketingapi/conversions-api/parameters/fbp-
     and-fbc/ (last visited December 15, 2022).
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 1   Figure 7
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           28.   The Facebook Tracking Pixel uses both first- and third-party cookies. A

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     first-party cookie is “created by the website the user is visiting”—i.e.,

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     Folgerscoffee.com.17 A third-party cookie is “created by a website with a domain name

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     other than the one the user is currently visiting”—i.e., Facebook.18 The _fbp cookie is

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     always transmitted as a first-party cookie. A duplicate _fbp cookie is sometimes sent as

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     a third-party cookie, depending on whether the browser has recently logged into

11
     Facebook.

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           29.   Facebook, at a minimum, uses the fr, _fbp, and c_user cookies to link to

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     Facebook IDs and corresponding Facebook profiles.

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           30.   A Facebook ID is personally identifiable information. Anyone can identify

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     a Facebook profile—and all personal information publicly listed on that profile—by

16
     appending the Facebook ID to the end of Facebook.com.

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           31.   Through the Facebook Tracking Pixel’s code, these cookies combine the

18
     identifiers with the event data, allowing Facebook to know, among other things, what

19
     Folgerscoffee.com videos a user has watched.19

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           32.   By compelling a visitor’s browser to disclose the c_user cookie alongside

21
     event data for videos, Defendants knowingly disclose information sufficiently permitting

22
     an ordinary person to identify a specific individual’s video viewing behavior.

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25                 PC            MAG,               FIRST-PARTY                COOKIES,
   https://www.pcmag.com/encyclopedia/term/first-party-cookie (last visited December 15,
26 2022). This is confirmable by using developer tools to inspect a website’s cookies and
   track network activity.
   18
27                 PC            MAG,              THIRD-PARTY                 COOKIES,
   https://www.pcmag.com/encyclopedia/term/third-party-cookie (last visited December
28 15,
   19
       2022). This is also confirmable by tracking network activity.
      FACEBOOK, GET STARTED, https://developers.facebook.com/docs/meta-pixel/get-
   started (last visited December 15, 2022).
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 1         33.   By compelling a visitor’s browser to disclose the fr and _fbp cookies
 2   alongside event data for videos, Defendants knowingly disclose information sufficient to
 3   permit an ordinary person to identify a specific individual’s video viewing behavior.
 4         34.   By compelling a visitor’s browser to disclose the fr cookie and other browser
 5   identifiers alongside event data for videos, Defendants knowingly disclose information
 6   sufficiently permitting an ordinary person to identify a specific individual’s video
 7   viewing behavior.
 8         35.   Facebook confirms that it matches activity on Folgerscoffee.com with a
 9   user’s profile. Facebook allows users to download their “off-site activity,” which is a
10   “summary of activity that businesses and organizations share with us about your
11   interactions, such as visiting their apps or websites.”20 The off-site activity report
12   confirms Defendants identify an individual’s video viewing activities.
13   C.    EXPERIENCE OF PLAINTIFFS
14         36.   Plaintiffs, like most Americans, have purchased, drank, and enjoyed Folgers
15   coffee and Defendants’ related products. As such, Plaintiffs are both “purchasers” and
16   “consumers” under the VPPA.
17         37.   Further, Plaintiffs are consumer privacy advocates with dual motivations for
18   playing videos on Defendants’ Website. First, Plaintiffs are genuinely interested in
19   learning more about the goods and services offered by Defendants, and each purchased
20   Defendants’ products multiple times in the past. Plaintiff Carroll played the “How to
21   Make Coffee with a Single Serve Coffee Maker” video, in or around December 2022 on
22   the https://www.folgerscoffee.com/coffee/how-to/use-k-cups portion of Defendants’
23   Website. Plaintiff Rodriguez played the video, “Allow Us to Reintroduce Ourselves”, in
24   or around March 2023 on the https://www.folgerscoffee.com/folgers-the-coffee-
25   company portion of Defendants’ Website. Second, Plaintiffs are “testers” who work to
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27    See https://www.facebook.com/help/2207256696182627 (Off-Facebook Activity is
   only a “summary” and Facebook acknowledges “receiv[ing] more details and activity
28 than what appears in your Facebook activity.” What is more, it omits “information we’ve
   received when you’re not logged into Facebook, or when we can’t confirm that you’ve
   previously used Facebook on that device.”) (last visited December 15, 2022).
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 1   ensure that companies abide by the privacy obligations imposed by federal law. As
 2   consumers who advance important public interests at the risk of vile personal attacks,
 3   Plaintiffs should be “praised rather than vilified.” Murray v. GMAC Mortgage Corp.,
 4   434 F.3d 948, 954 (7th Cir. 2006).
 5          38.    In enacting the VPAA, Congress intentionally chose to extend its
 6   protections to all persons who watch videos, not simply those who purchase them or
 7   claim pecuniary loss. As such, statutes like the VPPA are largely enforced by civic-
 8   minded “testers” such as Plaintiffs. See Tourgeman v. Collins Fin. Servs., Inc., 755 F.3d
 9   1109 (9th Cir. 2014) (explaining why testers have Article III standing and generally
10   discussing value and importance of testers in enforcement of consumer protection and
11   civil rights statutes).
12          39.    When Plaintiffs played the videos on the Website, Defendants knowingly
13   disclosed event data, which recorded and disclosed the videos’ title, description, and
14   URL. Alongside this event data, Defendants also disclosed identifiers and PII for
15   Plaintiffs, including the c_user and fr cookies. In other words, Defendants did exactly
16   what the VPPA prohibits: they disclosed Plaintiffs’ video viewing habits to a third party.
17          40.    Given the nature of Defendants’ business, visitors would be shocked and
18   appalled to know that Defendants secretly disclose to Facebook all of key data regarding
19   a visitors’ viewing habits.
20          41.    Defendants’ conduct is illegal, offensive, and contrary to visitor
21   expectations.
22          42.    By disclosing his event data and identifiers, Defendants disclosed Plaintiffs’
23   PII to a third-party.
24                                   CLASS ALLEGATIONS
25          43.    Plaintiffs bring this action individually and on behalf of all others similarly
26   situated (the “Class”) defined as follows:
27                 All persons in the United States who played video content on
28                 Folgerscoffee.com and whose PII was disclosed by Defendants to

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 1                Facebook during the two years preceding the filing of this action (the
 2                “Class Period”).
 3         44.    Numerosity (Fed. R. Civ. P. 23(a)(1)): At this time, Plaintiffs do not know
 4   the exact number of members of the aforementioned Class. However, given the
 5   popularity of Defendants’ website and the prevalence of Defendants’ products
 6   throughout the United States, the number of persons within the Class is believed to be so
 7   numerous that joinder of all members is impractical.
 8         45.    Commonality and Predominance (Fed. R. Civ. P. 23(a)(2), 23(b)(3)):
 9   There is a well-defined community of interest in the questions of law and fact involved
10   in this case. Questions of law and fact common to the members of the Class that
11   predominate over questions that may affect individual members of the Class include:
12
           a)    whether Plaintiffs and the Class are within the definition of the term,
13
                  “consumer,” used in the VPPA;
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           b)    whether Defendants collected Plaintiffs’ and the Class’s PII;
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16         c)    whether Defendants unlawfully disclosed and continue to disclose their
17                users’ PII in violation of the VPPA;
18
           d)    whether Defendants’ disclosures were committed knowingly; and
19
           e)    whether Defendants disclosed Plaintiffs’ and the Class’s PII without
20
                  consent.
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           46.    Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiffs’ claims are typical of those
22
     of the Class because Plaintiffs, like all members of the Class, used Folgerscoffee.com to
23
     play videos, and had PII collected and disclosed by Defendants.
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           47.    Adequacy (Fed. R. Civ. P. 23(a)(4)): Plaintiffs have retained and are
25
     represented by qualified and competent counsel who are highly experienced in complex
26
     consumer class action litigation. Moreover, Plaintiffs are able to fairly and adequately
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     represent and protect the interests of the Class.
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 1         48.     Superiority (Fed. R. Civ. P. 23(b)(3)): A class action is superior to other
 2   available methods for the fair and efficient adjudication of this controversy because
 3   individual litigation of the claims of all members of the Class is impracticable. Even if
 4   every member of the Class could afford to pursue individual litigation, the court system
 5   could not. It would be unduly burdensome to the courts in which individual litigation of
 6   numerous cases would proceed. Individualized litigation would also present the potential
 7   for varying, inconsistent, or contradictory judgments, and would magnify the delay and
 8   expense to all parties and to the court system resulting from multiple trials of the same
 9   factual issues. By contrast, the maintenance of this action as a class action, with respect
10   to some or all of the issues presented herein, presents few management difficulties,
11   conserves the resources of the parties and of the court system and protects the rights of
12   each member of the Class. Plaintiffs anticipate no difficulty in the management of this
13   action as a class action.
14                                      CAUSE OF ACTION
15               VIOLATION OF THE VIDEO PRIVACY PROTECTION ACT
16                                     18 U.S.C. § 2710, et seq.
17         49.     Defendants are “video tape service providers” that create, host, and deliver
18   videos on the Website, thereby “engag[ing] in the business, in or affecting interstate or
19   foreign commerce, of rental, sale, or delivery of prerecorded video cassette tapes or
20   similar audio visual materials.” 18 U.S.C. § 2710(a)(4) (emphasis added). Defendants
21   also use the videos to collect and disclose viewers’ PII so it can later retarget them for
22   advertisements.
23         50.     Plaintiffs and members of the Class are “consumers” because they have
24   purchased Defendants’ products multiple times in the past, are “renter[s], purchaser[s],
25   or subscriber[s] of goods or services” of Defendants and have watched videos on the
26   Website. 18 U.S.C. § 2710(a)(1) (emphasis added).
27         51.     Defendants disclosed to a third party, Facebook, Plaintiffs’ and the Class
28   members’ personally identifiable information. Defendants utilized the Facebook

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 1   Tracking Pixel to compel Plaintiffs’ web browser to transfer Plaintiffs’ identifying
 2   information, like their Facebook IDs, along with Plaintiffs’ event data, like the title of
 3   the videos viewed.
 4          52.     Plaintiffs and the Class members played videos offered by Defendants on
 5   the Website.
 6          53.     Defendants knowingly disclosed Plaintiffs’ and Class members’ PII because
 7   they used that data to build audiences on Facebook and retarget them for its advertising
 8   campaigns.
 9          54.     Plaintiffs and Class members did not provide Defendants with any form of
10   consent—either written or otherwise—to disclose their PII to third parties.
11          55.     Defendant’s disclosures were not made in the “ordinary course of business”
12   as the term is defined by the VPPA because they were not necessary for “debt collection
13   activities, order fulfillment, request processing, [or] transfer of ownership.” 18 U.S.C. §
14   2710(a)(2).
15                                     PRAYER FOR RELIEF
16          WHEREFORE, Plaintiffs seek judgment against Defendants, individually and on
17   behalf of all others similarly situated, as follows:
18          a.      For an order certifying the Class under Rule 23 of the Federal Rules of Civil
19                  Procedure, naming Plaintiffs as representatives of the Class;
20          b.      For an order declaring that Defendants’ conduct violates the VPPA;
21          c.      For an order finding in favor of Plaintiffs and the Class on the cause of action
22                  asserted herein, including all available damages;
23          d.      For prejudgment interest on all amounts awarded;
24          e.      For injunctive relief to stop the illegal conduct;
25   ///
26   ///
27   ///
28   ///

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 1        f.    For an order awarding Plaintiffs and the Class their reasonable attorneys’
 2              fees, expenses and costs of suit;
 3        g.    For any and all other relief, at law or equity, that may be appropriate.
 4

 5   Dated: March 17, 2023                PACIFIC TRIAL ATTORNEYS, APC
 6

 7                                        By:
                                          Scott. J. Ferrell
 8                                        Attorneys for Plaintiffs
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 1                              CERTIFICATE OF SERVICE
 2
           I hereby certify that on March 17, 2023, I electronically filed the foregoing FIRST
 3
     AMENDED CLASS ACTION COMPLAINT with the Clerk of the Court using the
 4
     CM/ECF system which will send notification of such filing via electronic mail to all
 5
     counsel of record.
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 7
                                            /s/Scott J. Ferrell
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                                                 Scott J. Ferrell
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                             FIRST AMENDED CLASS ACTION COMPLAINT
